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                           UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

                              ORIGINAL FILED WITH CLERK
   CHAMBERS OF                                                       UNITED STATES COURTHOUSE
JEROME B. SIMANDLE                                                    ONE JOHN F. GEARY PLAZA
    CHIEF JUDGE                                                             P.O. BOX 2797
                                    June 27, 2014                        CAMDEN, NJ 08101
                                                                            (856) 757-5167



 Jacqueline M. Vigilante, Esq.
 THE VIGILANTE LAW FIRM PC
 99 N. Main Street
 Mullica Hill, NJ 08062                                          FILED
 Kevin R. Bradfo~d, Deputy Attorney General                      JUN 3 0 2014
 OFFICE OF THE ATTORNEY GENERAL
 21 South 12th Street, 3rd Floor                              MICHAELE. KUNZ, Clerk
 Philadelphia, PA 19107                                       By          Dep. Clerk

         Re:      Gadling-Cole v. West Chester University,
                  Civil No. 11-796 (JBS) (E.D. Pa.)

 Dear Counsel:

      I am writing to address the status of the above-captioned
 case. I understand that, pursuant to a stipulation between the
 parties [Docket Item 77], the parties have agreed to withdraw
 Plaintiff's bill of costs [Docket Item 74], Plaintiff's motion
 for attorney's fees and costs [Docket Item 75], and Defendants'
 bill of costs [Docket Item 76.] Accordingly, I am not aware of
 anything further to be done upon the docket.

         If I     ~m   incorrect, please advise.

                                         Very truly yours,

                                        Ck~~,,~lb~
                                        a;R~~-;-· SIMANDLE
                                         Chief U.S. District Judge
                                         By designation, 28 U.S.C.
                                         § 292{b)

 JBS/jss
